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                            CURLING, et al v. RAFFENSPERGER, et al
                                       1:17-cv-2989-AT
                          ADMITTED EXHIBIT CORRELATION CHART

                  SEALED EXHIBITS                         ALL ADMITTED / REDACTED EXHIBITS

    Party             Exhibit #         Docket #       Party                 Exhibit #             Docket #
                   Secretary of State
                                                                     Secretary of State Cyber
                      Cyber Risk                   Plaintiff Ex.
Plaintiff Ex. 1                          561-1                       Risk Assessment October        565-13
                  Assessment October                    1R
                                                                              2017
                         2017

                  Secretary of State
                                                                     Secretary of State FINAL
                FINAL Vendor Cyber                 Plaintiff Ex.
Plaintiff Ex. 2                          561-2                          Vendor Cyber Risk           565-14
                  Risk Assessment                       2R
                                                                     Assessment February 2018
                   February 2018

                  Secretary of State
                                                                 Secretary of State Fortalice
                 Fortalice Red Team
                                                   Plaintiff Ex. Red Team Penetration and
Plaintiff Ex. 3 Penetration and Cyber    561-3                                                      565-15
                                                        3R        Cyber Risk Assessment
                  Risk Assessment
                                                                      November 2018
                   November 2018

                                                                         Russian Targeting of
                                                                       Election Infrastructure
                   Fortalice Risk                                     During the 2016 Election:
Plaintiff Ex. 7 Assessment Interview     561-4     Plaintiff Ex. 4       Summary of Intitial        565-4
                     Questions                                          (Senate) Findings and
                                                                     Recommendations, May 8,
                                                                                  2018
                                                                        Steven Dean email to
                   Fortalice Risk
                                                                     Merle King re vulnerability
Plaintiff Ex. 8 Assessment Interview     561-5     Plaintiff Ex. 5                                  565-5
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                                                                                website
                                                                      March 3, 2017 Center for
                                                   Plaintiff Ex. 6   Elections Systems memo re      565-6
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                                                                         Dr. Michael Shamos
                                                   Plaintiff Ex.
                                                                      Deposition Excerpts July      565-7
                                                        12
                                                                               24, 2019
                                                   Plaintiff Ex.      Official Election Bulletin
                                                                                                    565-8
                                                        15                  August 1, 2018
                                                   Plaintiff Ex. Fulton County Response to
                                                                                                    565-16
                                                        16        Plaintiffs' Interrogatories
                                                   Plaintiff Ex.     Fortalice Risk Assessment
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                                                        7R              Interview Questions
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                              Plaintiff Ex.   Fortalice Risk Assessment
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                                   8R              Interview Notes




                                              Rules of Secretary of State
                                               Chapter 590-8 Office of
                                              Secretary of State Elections
                               Defendant
                                               Division Subject 590-8-3      566-1
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                                                   Security of Voter
                                              Registration System Table
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                                                  Joint Litigation and
                               Defendant
                                                   Common Interest           566-2
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                                                      Agreement
                                              Dr. Shamos July 19, 2019,
                               Defendant
                                               Deposition Testimony          566-3
                                 Ex. 5
                                                      Excerpts
